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     Attorneys for HKB, Inc., dba Southwest
     Industrial Rigging; Harry Kent Baker, Scott
     William Miller and James Douglas Wilson
                              UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
     CARPENTERS SOUTHWEST                                                   CASE NUMBER 2:16-cv-08040-MWF-SK
     ADMINISTRATIVE CORPORATION, a
     California non-profit corporation; and
     BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST TRUSTS,
                                                             Plaintiff(s)
                                 v.
     HKB, INC., an Arizona corporation, doing
     business as SOUTHWEST INDUSTRIAL
     RIGGING; HARRY KENT BAKER, an                                              (PROPOSED) ORDER ON AMENDED
     individual; SCOTT WILLIAM MILLER, an                                        APPLICATION OF NON-RESIDENT
     individual; JAMES DOUGLAS WILSON,                                         ATTORNEY TO APPEAR IN A SPECIFIC
     an individual,                                                                   CASE PRO HAC VICE


                                                          Defendant(s).
    The Court, having determined whether the required fee has been paid, and having reviewed the Application of
    Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
     HOLLAND, JR., JAMES E.                                                        of     STINSON LEONARD STREET LLP
     Applicant’s Name (Last Name, First Name & Middle Initial                             1850 North Central Avenue, Suite 2100
     602-279-1600                              602-240-6925                               Phoenix, Arizona 85004
     Telephone Number                          Fax Number
     James.holland@stinson.com
                                 E-Mail Address                                           Firm/Agency Name & Address
    for permission to appear and participate in this case on behalf of
     HKB, INC., an Arizona corporation, doing business as SOUTHWEST INDUSTRIAL
     RIGGING; HARRY KENT BAKER; SCOTT WILLIAM MILLER; JAMES DOUGLAS
     WILSON


     Name(s) of Party(ies) Represent                              ☐ Plaintiff(s) ☒ Defendant(s) ☐ Other:
    and designating as Local Counsel
     Begakis, Nicholas J.                                                            of    LimNexus LLP
     Designee’s Name (Last Name, First Name & Middle Initial                               1055 West Seventh Street, 28th Floor
     253588                             213-955-9500           213-955-9511                Los Angeles, California 90017
     Designee’s Cal. Bar No.               Telephone              Fax Number
                                            Number

 CORE/3008422.0002/130746334.1        (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC
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     nick.begakis@LimNexus.com
                                 E-Mail Address                                             Firm/Agency Name & Address
    HEREBY ORDERS THAT the Application be:
     ☐GRANTED
     ☐DENIED:         ☐     for failure to pay the required fee.
                      ☐     for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐     for failure to complete Application:
                      ☐     pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐     pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                            District.
                      ☐ because
    IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

    Dated: Click here to enter a date.
                                                                                 U.S. District Judge/U.S. Magistrate Judge




 CORE/3008422.0002/130746334.1    (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC
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